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Subject:                                       Activity in Case 1:18-cv-05775-ERK-TAM Star Auto Sales of
                                                Bayside, Inc. et al v. Voynow, Bayard, Whyte and Company, LLP
                                                et al Order on Motion for Discovery


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                                                 U.S. District Court

                                           Eastern District of New York

Notice of Electronic Filing

The following transaction was entered on 12/13/2023 at 6:49 PM EST and filed on 12/13/2023
Case Name:          Star Auto Sales of Bayside, Inc. et al v. Voynow, Bayard, Whyte and Company, LLP et al
Case Number:        1:18-cv-05775-ERK-TAM <https://ecf.nyed.uscourts.gov/ ...>
Filer:
Document Number: No document attached

Docket Text:
Minute Entry and Order: A telephonic status conference was held on 12/13/2023 before
Magistrate Judge Taryn A. Merkl. Appearances by Jamie Scott Felsen, Joseph M.
Labuda, and Jeremy Michael Koufakis for Plaintiffs, and Maureen Fitzgerald for
Defendants. Discussion held regarding case status and open discovery issues from the
6/7/2023 Motion for Discovery (ECF No. [102]) and the 8/21/2023 Motion to Quash and
Motion for Protective Order (ECF No. [108]), as reported by the parties in their 9/7/2023
joint status report (ECF No. [109]). As stated on the record, Plaintiffs' four requests and
two motions are denied, in part.

Plaintiff's demand number nine (ECF No. 102, at 2-3) for additional samples of
engagement letters for tax and review engagements is denied for the reasons stated on
the record, including the finding that, in light of the discovery already produced by
Defendants, further discovery on this issue is not proportional to the needs of the case.
Denial of the motion is also warranted because the motion fails to include a
certification that the parties conferredappropriately in an attempt to resolve this issue
without judicial intervention. Indeed, Plaintiffs' counsel confirmed on the record that
they had not previously discussed with defense counsel their request for the provision
of records related to Defendants' engagements with the two specific entities discussed
today (Kerdeck and Peruzzi Auto Groups). EDNY Local Rule 37.3(a) requires parties
to "attempt to confer in good faith in person or by telephone in an effort to resolve the
dispute, in conformity with Fed. R. Civ. P. 37(a)(1)." For these two reasons, Plaintiffs'
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request for further discovery on this issue is denied.

Plaintiffs' demand number six (ECF No. 102, at 4-5) for a blank checklist for a review
engagement is denied in part. Despite extensive discussion, the record is not
completely clear whether Defendant Voynow uses a publicly available review
engagement checklist or a custom review engagement checklist. The parties are
directed to meet and confer to get a definitive answer to this question and resolve the
dispute, either with a limited verified interrogatory, a declaration, or some other means,
no later than 1/5/2024, the deadline for all discovery.

Plaintiffs' motion to quash subpoena (ECF No. 108, at 1-4) is denied. As discussed on
the record, on August 2, 2023, the Court granted Plaintiffs' motion for an extension of
all discovery, and unequivocally extended the fact discovery deadline specifically to
August 31, 2023, in light of myriad discovery disputes in the case and in the absence of
a certification of the close of fact discovery from the parties. Defendants' subpoena
was issued before that date and Defendants have demonstrated that the requested
documents could bear on their defenses as further explicated on the record.

Plaintiffs' motion to preclude (ECF No. 108, at 4-6) is denied, without prejudice to raise
argument regarding the challenged documents in a motion in limine. As noted, fact
discovery was open through 8/31/2023 (see 8/2/2023 ECF Order), and the parties did not
certify the close of fact discovery until 9/7/2023 (see ECF No. 109 at 1). Accordingly,
Defendants' document production of June 30, 2023, was timely and Plaintiffs had more
than enough time to make additional discovery requests related to this production prior
to the close of fact discovery.

The remaining deadlines for the completion of discovery remain in effect. Expert
depositions shall be completed by 12/15/2023. All discovery shall be completed by
1/5/2024, and the parties shall submit a joint status report certifying the close of all
discovery by 1/12/2024. The last date to take the first step in dispositive motion
practice, in accordance with the Individual Rules of the assigned District Judge, shall
be 2/12/2024. In the absence of dispositive motions, the Joint Pretrial Order shall be
filed by 3/12/2024; the JPTO must be prepared in strict compliance with the rules of the
assigned District Judge. Ordered by Magistrate Judge Taryn A. Merkl on 12/13/2023.
(AT&T Log #11:30-12:50.) (ALG)


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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

           ------------------------------X Docket#
           STAR AUTO SALES OF            : 18-cv-05775-ERK-TAM
           BAYSIDE, INC., et al.,        :
                                         :
                           Plaintiffs,   :
                                         :
                - versus -               : U.S. Courthouse
                                         : Brooklyn, New York
           VOYNOW, BAYARD, WHYTE AND     :
           COMPANY, LLP, et al.,         :
                                         : December 13, 2023
                           Defendants    : 11:30 a.m.
           ------------------------------X

                 TRANSCRIPT OF CIVIL CAUSE FOR STATUS CONFERENCE
                       BEFORE THE HONORABLE TARYN A. MERKL
                         UNITED STATES MAGISTRATE JUDGE

           A   P   P   E   A        R    A     N    C    E    S:
           (VIA VIDEO/AUDIO)



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      1                THE CLERK:    ...Cause for a Status Conference,

      2   docket 18-cv-5775, Star Auto Sales of Bayside, Inc., et

      3   al. v. Voynow, Bayard, Whyte and Company, LLP, et al.

      4                Before asking the parties to state their

      5   appearance, I would like to note the following.

      6                Persons granted remote access to proceedings

      7   are reminded of the general prohibition against

      8   photographing, recording, and re-broadcasting of court

      9   proceedings.       Violation of these prohibitions may result

    10    in sanctions including removal of court-issued media

    11    credentials, restricted entry to future hearings, denial

    12    of entry to future hearings, or any other sanctions

    13    deemed necessary by the Court.

    14                 Will the parties please state their appearances

    15    for the record starting with the plaintiff?

    16                 MR. FELSEN:    Good morning, your Honor.         This is

    17    Jamie Felsen.      I'm joined here with Joseph Labuda and

    18    Jeremy Koufakis.

    19                 MS.    FITZGERALD:    Good morning, your Honor.

    20    This is Maureen Fitzgerald on behalf of the defendants.

    21                 THE COURT:    All right.     So good morning,

    22    everybody.    We are here at long last hopefully on a final

    23    last-ditch effort to resolve some of these discovery

    24    disputes.

    25                 So I'm just curious to start, you know, kind of




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      1   where things stand with regard to what remains

      2   outstanding in terms of the fact discovery.             And I know

      3   you're in the midst of expert practice as well.              Rebuttal

      4   expert reports were due November 10th.

      5               So would you like to start by providing an

      6   overview, Mr. Felsen?

      7               MR. FELSEN:     Sure, your Honor.       I'm happy to

      8   report that we will be as of Monday finished with the

      9   expert depositions.       As far as we're concerned, fact

    10    discovery has been closed but for the four issues that

    11    we're here to discuss today that are outlined in the

    12    letter that we submitted.

    13                THE COURT:     Okay.    So the last expert

    14    deposition is Monday?

    15                MR. FELSEN:     Correct.

    16                THE COURT:     Okay.    And so the four matters that

    17    were outlined in your letter of September 7th on document

    18    109, those are the only four issues that remain in your

    19    point of view?

    20                MR. FELSEN:     Yes.    It essentially boils down to

    21    two issues in document number 108, and then there's two

    22    issues in document number 102 on the docket.

    23                THE COURT:     Yes, that's what we gleaned from

    24    following all of the connections between the documents.

    25                Ms. Fitzgerald, can you give me an update from




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      1   defendant's perspective?

      2               MS. FITZGERALD:      Well, I mean we largely agree.

      3   We have the last expert deposition scheduled for Monday.

      4   And there's four open issues between the docket filing

      5   102 and docket filing 108 that the parties are prepared

      6   to address today with your Honor.

      7               THE COURT:     Great.    Just trying to make sure

      8   we're all on the same page in terms of the order of the

      9   agenda and what we're on deck to discuss.

    10                So as Mr. Felsen described, there were two

    11    issues raised in the June 7th letter, document 102 in

    12    ECF, one related to Star's request for documents

    13    pertaining to demand number 9 as I understand it.              And

    14    then the other issue pertaining to Star's fourth request

    15    for documents pertaining to demand 6.

    16                So would you like to start, Mr. Felsen?

    17                MR. FELSEN:     Sure.    You want me to address

    18    these two issues in document 102 first?            Is that correct,

    19    your Honor?

    20                THE COURT:     I think we should probably go back

    21    and forth on each issue.        It's usually a little bit more

    22    easy to follow.     You want to start with demand 9 first

    23    and the letter and then we'll turn to Ms. Fitzgerald for

    24    her position?

    25                MR. FELSEN:     Sure, your Honor.       With respect to




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      1   document demand number 9 in plaintiff's second request

      2   for documents, so one of the hotly contested issues in

      3   this case is what the scope of work was during the

      4   engagement between Voynow -- that Voynow had with respect

      5   to the services it performed for Star.           There is no

      6   written agreement so there's been a sharp factual dispute

      7   as to what exactly the scope of work was.

      8               Now, with regard to demand number 9, it's our

      9   position that if other Voynow dealership clients had

    10    engagements that were for services other than just tax

    11    returns and they paid, those clients paid Voynow in the

    12    same manner and similar amounts as Star, it would be

    13    indicative that Star had the same engagements as those

    14    other dealership clients.        And we're not asking for every

    15    single engagement.      We've asked for a sample.

    16                And we've met and conferred with Ms. Fitzgerald

    17    and we initially asked for the years 2013, 2015, a

    18    sampling of three.      We then came to a compromise of 2014

    19    and 2015.     But then we weren't able to agree on anything

    20    further.    We had requested that three dealership clients

    21    of Voynow for tax returns to be provided and three

    22    dealership clients where it was review services be

    23    provided.

    24                Ms. Fitzgerald unilaterally just provided us

    25    with three engagements but for one auto group, Thompson




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      1   auto group, who has various automobile dealerships within

      2   that group.    And she chose on her own.         We want to be

      3   able to a random sampling of ones that we choose.              We're

      4   fine with Thompson but we want to receive engagement

      5   letters for two other auto groups, Kerbeck Auto Group and

      6   Peruzzi Auto Group.

      7               THE COURT:     Could you spell those for me?

      8               MR. FELSEN:     K-E-R-B-E-C-K, and Peruzzi,

      9   P-E-R-U-Z-Z-I.

    10                In addition, to the extent that the engagement

    11    letters do not provide information about the price was

    12    for the engagement, then we'd ask that we receive

    13    invoices also to provide us with information about what

    14    those dealerships actually paid to Voynow.

    15                THE COURT:     How did you arrive at Kerbeck and

    16    Peruzzi?

    17                MR. FELSEN:     Those were dealerships that there

    18    was testimony about during depositions.

    19                THE COURT:     But how is it relevant.        I mean we

    20    talked about this, you know, at an in-person conference

    21    months ago about how every client is different in

    22    comparing documents of engagement with regard to one

    23    client may be really apples and oranges compared to

    24    another client depending on size, scope, need, volume of

    25    business.     Who knows which factors, right?         That's why




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    1   accounting contracts and retainers are often very highly

    2   customized, in my understanding.

    3               So you know, we talked about this literally

    4   months ago and so I'm curious, you know, where the

    5   breakdown occurred with regard to the parties'

    6   discussions because as of the June letter, it had been

    7   represented that this issue was largely moot, that the

    8   defendant had provide stuff and then now it seems as

    9   though you guys just disagree about what should be

  10    provided.    And I don't understand why you think you're

  11    entitled to these specific clients.

  12                MR. FELSEN:     We believe that these dealership

  13    groups are similar in size to Star, so therefore, it'll

  14    be a good comparator to determine what the retainer says

  15    and what was actually paid.

  16                THE COURT:     Do you have any sense of what work

  17    they were hired to do?

  18                MR. FELSEN:     They had a review engagement those

  19    two groups.

  20                THE COURT:     And how do you know that?

  21                MR. FELSEN:     I believe based on the deposition

  22    testimony of a Voynow representative.

  23                THE COURT:     Okay.    All right.     So Ms.

  24    Fitzgerald, would you like to respond?

  25                MS. FITZGERALD:        Sure.   So first of all, I




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    1   think we need to start with request number 9, the actual

    2   request, and the request asks for a sample of documents

    3   concerning Voynow's retainers or engagement letters with

    4   other dealerships.      There's never been a request for

    5   invoices.    It's been a sample of engagement letters.

    6               And your Honor is right in the sense that we've

    7   been sort of around the block on this issue multiple

    8   times because what the plaintiffs are trying to do is

    9   almost create this type of comparator concept which is a

  10    concept that exists in employment discrimination cases.

  11    It is not a concept that exists in professional liability

  12    case law.

  13                And I've repeatedly challenged them to come

  14    forward with any kind of law that supports the notion

  15    that they can get discovery about pulling out other

  16    clients located in a different state with different sets

  17    of books and records with different types of issues and

  18    argue that that is somehow relevant to the services the

  19    Voynow provided to star.        And there is no law.       They

  20    haven't been able to do that because it doesn't exist.

  21                So I think that it's been my position all along

  22    that this has been nothing other than a fishing

  23    expedition but when we were in front of your Honor the

  24    last time, they argued that they needed the sample

  25    engagement letters involving Thompson Auto Group and they




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    1   also wanted to depose the Thompson Auto Group controller.

    2   And your Honor denied their request for that deposition

    3   but then directed to me that to the extent I had

    4   engagement letters from Thompson, those be documents that

    5   I could produce.      And I've done that.

    6               I've given them two different engagement

    7   letters involving the Thompson Group that pertains to a

    8   review, financial state review engagement.             And then I've

    9   given them an engagement letter that involved 21

  10    different entities that are affiliated with the Thompson

  11    Group which is a large group that reflected the tax

  12    engagement.     So I've given that to them and now they're

  13    coming back and saying oh, now this is the first time I'm

  14    hearing about Kerbeck or Peruzzi and I can represent to

  15    you that there's been no deposition testimony in any way

  16    saying that Voynow provided services akin to a review or

  17    something less than an audit or whatnot, or that there's

  18    any similarity between those two entities and the Star

  19    Group.

  20                So I mean I think we have to go back to what

  21    the law says in terms of the fact that there is no

  22    concept of comparators in professional liability cases.

  23    This case is going to be decided upon the engagement

  24    letter and the plaintiffs are wrong when they say there

  25    is no engagement letter.        There is engagement letters.




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    1   They never signed them, but there are engagement

    2   letters.

    3               So the jury is going to look to what's in the

    4   engagement letter and then they're going to look at

    5   Voynow's work papers as far as that shows what they did.

    6   What happened in a different state in a different type of

    7   engagement like an attestation engagement such as a

    8   financial statement review engagement, has no relevance

    9   whatsoever.

  10                And even under the broad standard of relevance

  11    and Rule 26, you just can't justify allowing this type of

  12    discovery that has to do with, you know, Voynow's

  13    relationships with its other clients.           Simply, it's so

  14    far outside the threshold of relevance.            And I think when

  15    they wanted to make the point that there are different

  16    engagement letters that Voynow issued that pertain to

  17    reviews, and they have that now because I gave that to

  18    them in the Thompson documents and I gave them similar

  19    other engagement letters that have to do with tax only

  20    engagements.     So they have that.       They have that

  21    language.    To now expand it to go on a fishing expedition

  22    for other Voynow clients is just well outside the scope

  23    of what's permissible.

  24                And like I said, invoices have never ever --

  25    were never even part of request number 9, so that should




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    1   be just discarded, you know, right at the outset.

    2               So that's our position, Judge.

    3               THE COURT:     Mr. Felsen --

    4               MR. FELSEN:     Your Honor, may I respond?

    5               THE COURT:     Yes, Mr. Felsen.

    6               MR. FELSEN:     May I respond briefly, your Honor?

    7               THE COURT:     Yes.    I'm trying to make a record

    8   of who's speaking, so please.         Mr. Felsen, would you like

    9   to respond?

  10                MR. FELSEN:     Yes.    Thank you, your Honor.

  11                With respect to invoices, we're not looking for

  12    invoices to the extent that the engagement letters

  13    identify the price.       The only reason we are asking about

  14    invoices is we want to know what the price is.             So we

  15    don't need every invoice.         We just need to know how much

  16    was paid under these retainers.

  17                Scope of work is at the heart of this case

  18    here, so comparators are needed.          We need to look at

  19    other evidence since there's no written signed engagement

  20    letter between the parties.         So other discovery devices

  21    are necessary.     This is not a fishing expedition.           We're

  22    not asking for every single engagement letter.             We've met

  23    and conferred and all we're asking for is two other

  24    dealership groups.      We're not asking for every single

  25    review engagement.      That's not a fishing expedition.




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    1   We've narrowly tailored this to two dealerships.

    2               THE COURT:     So the Thompson documents are

    3   sufficient?     I mean first of all, do you take issue, Mr.

    4   Felsen, with the representation that this is the first

    5   time you're identifying Kerbeck and Peruzzi by name?

    6               MR. FELSEN:     Yes.    We have (audio cut out) with

    7   Ms. Fitzgerald those specific dealerships.             She just gave

    8   us Thompson.     We had talked about giving other names but

    9   we didn't specifically identify them previously.

  10                THE COURT:     Okay.    And why are the Thompson

  11    documents insufficient?

  12                MR. FELSEN:     We'd like to have a sampling.

  13    It's just one dealership group.

  14                THE COURT:     But aren't there like 21

  15    affiliates?     Don't you now have the distinction between

  16    the tax engagement and the tax and review engagement?

  17                MR. FELSEN:     Thompson is just one auto group

  18    that she cherry picked.

  19                THE COURT:     That0's not responsive to my

  20    question.    Do you now have samples of the tax engagement

  21    style and the larger style that includes the review

  22    engagement?

  23                MR. FELSEN:     Yes, through Thompson.

  24                THE COURT:     And why do you believe that

  25    additional examples will in any way change the analysis?




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    1               MR. FELSEN:     Because Ms. Fitzgerald cherry

    2   picked Thompson and we don't know what the contents will

    3   be of these other auto groups' engagement letters.

    4               And your Honor, you know, Ms. Fitzgerald by --

    5               THE COURT:     But Mr. Felsen, this is like where

    6   we were when you guys were performing at the beginning of

    7   the summer.    What does it matter if a different client

    8   had a relationship with Voynow that provided them with

    9   particular services?       What matters to prove malpractice

  10    here and the negligence here is what they were hired to

  11    do here.

  12                MR. FELSEN:     Right.    And your Honor, that's in

  13    dispute and --

  14                THE COURT:     I know it's in dispute, but what

  15    they did to a different client isn't going to change what

  16    conversations transpired between the principals of Star

  17    and the principals of Voynow.

  18                MR. FELSEN:     But the contents of an engagement

  19    letter for solely tax preparation work versus the

  20    contents of an engagement letter for review work, it

  21    would be different.       And to the extent that the

  22    engagement letter for review work addresses duties that

  23    Voynow performed for Star, it would tend to establish

  24    that Star, like Thompson, had more than an engagement

  25    that covered more than just tax preparation.




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    1               THE COURT:     But doesn't there need to be a

    2   meeting of the minds here with regard to what the

    3   contract should have included?         What you essentially have

    4   is a disconnect between the principals of Star and the

    5   principals of Voynow, correct?

    6               MR. FELSEN:     Yes, your Honor.

    7               THE COURT:     I just really --

    8               MR. FELSEN:     Your Honor --

    9               THE COURT:     As I have struggled with it back in

  10    May or June, whenever we were together, I'm still

  11    struggling with the concept that a different contract is

  12    going to shed any light whatsoever on what these parties

  13    agreed to do here.

  14                MR. FELSEN:     Your Honor, there's also the

  15    circumstances of the Thompson retainer is such that it's

  16    dated 2015 but it's signed in 2017.          We would be amenable

  17    to one of these others that we pick, Kerbeck or Peruzzi.

  18    And if you don't agree to one of those then some of the

  19    auto group that we can pick.

  20                THE COURT:     Ms. Fitzgerald, would you like to

  21    respond?

  22                MS. FITZGERALD:      I don't think that that

  23    argument has any bearing on when the client actually

  24    signed the engagement letter.         They have the difference

  25    in the wording of the two types of engagement.             They have




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    1   what's the standard tax engagement which is an entity

    2   that, was a letter that has to do with 21 different

    3   entities that I produced.        Okay?    So they have that level

    4   of service.

    5                And then they have two samples of review

    6   engagements and two management representation letters

    7   that I also provided from the Thompson related entities.

    8   So they have the wording to the extent they even want to

    9   try to argue.

  10                 But the issue as far as what Voynow's

  11    engagement with Star is, that's going to be determined by

  12    the following.     The actual letters that were issued

  13    between Star and Voynow irrespective of whether Star

  14    signed them.     By the testimony of Michael Koufakis on one

  15    hand and Randy Franzen and his colleague who was present

  16    when the engagement was actually agreed to.             Okay?   So

  17    that's verbal testimony.

  18                 There's metadata that supports the existence of

  19    engagement letters issued every year by Voynow.              There's

  20    references in bills and there's references in emails that

  21    support the existence of engagement letters being issued

  22    every year by Voynow.       There's a change in format to

  23    those letters and the reason why.          That's all in the

  24    testimony.

  25                 And then there's the fact that Star's owner,




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    1   John Koufakis, admitted under oath that they don't sign

    2   contracts as a matter of course.

    3               So the jury is going to hear all of that

    4   evidence.    And that's the evidence, that's important

    5   evidence for the jury to decide whether or not this was a

    6   tax engagement and whether or not that -- because it

    7   doesn't, the letter doesn't have to be signed in the tax

    8   engagement.     There is no requirement for it to be signed

    9   in order for the tax returns to be issued.            But that's

  10    the evidence that the jury is going to hear and that's

  11    what the jury is going to decide.          It has nothing to do

  12    with what Voynow issued to a different client in a

  13    different state for a different time period for a client

  14    that has different books and records.           None of that has

  15    any bearing on what the scope of the engagement is

  16    between Star and Voynow.

  17                THE COURT:     Mr. Felsen?

  18                MR. FELSEN:     Your Honor, Ms. Fitzgerald gave us

  19    Thompson.    So by doing that she acknowledged that it's

  20    relevant.    And she doesn't get to pick and choose --

  21                THE COURT:     No, she did not, Mr. Felsen.         She

  22    has never acknowledged it's relevant.           I was there at the

  23    oral argument.     Go ahead.

  24                MR. FELSEN:     I don't believe you directed her

  25    to produce Thompson.       That was something that she agreed




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    1   to during a meet and confer.

    2               MS. FITZGERALD:      Yes.    That was the one that

    3   you requested specifically so I agreed to give you

    4   Thompson.

    5               THE COURT:     The fact that she gave you

    6   documents through a negotiated discovery process is not

    7   evidence of her views on relevance.           Do not make that

    8   mistake.

    9               MR. FELSEN:     Understood, your Honor.         Just with

  10    respect to Ms. Fitzgerald's belief as to what evidence

  11    the jury will consider, I mean that doesn't exclude us

  12    from getting other relevant information.            She doesn't get

  13    to just choose what's relevant and what's not relevant.

  14    I mean we're entitled to relevant documents and we

  15    believe that this other engagement letter from another

  16    dealership is relevant.

  17                THE COURT:     What's the payment arrangement that

  18    Thompson utilizes, Mr. Felsen?

  19                MR. FELSEN:     The engagement doesn't contain

  20    information about the payments.

  21                THE COURT:     You don't know whether it's a

  22    monthly retainer or a particular set fees depending on

  23    the level of service?

  24                MR. FELSEN:     No, your Honor.

  25                MS. FITZGERALD:      So there was testimony on this




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    1   issue, Judge, by Voynow's managing partner and he said

    2   that all Voynow clients, regardless of the level of

    3   engagement, are billed on a retainer as the work is done

    4   and billed, it's offset against that retainer.             So all

    5   clients are billed in that manner.          And that's just

    6   because, you know, accountants' work is typically

    7   seasonal so that's how they stay afloat.

    8               THE COURT:     And one follow-up for Mr. Felsen,

    9   do you take issue with the representation by Ms.

  10    Fitzgerald that engagement letters need not be signed

  11    under the AICPA guidelines for tax engagement?

  12                MR. FELSEN:     We don't agree with Ms.

  13    Fitzgerald's conclusion on that.

  14                THE COURT:     You don't.

  15                MS. FITZGERALD:      Well, their expert just

  16    testified that he agreed.

  17                THE COURT:     I mean the AICP guidelines I assume

  18    are in plain English.       I can pull them up right now.          So

  19    what is your view on what the AICPA guidelines require

  20    with respect to tax engagement specifically, Mr. Felsen?

  21                MR. FELSEN:     Our understanding is that once an

  22    engagement letter is issued it's signed by the client.

  23                THE COURT:     On page 14 of document ECF 102, I

  24    assume the defendant's position on this issue, the

  25    defendants posit that the AICPA did not and still does




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    1   not mandate that a taxpayer sign tax engagement letters

    2   before tax accountants can issue their tax return.              And

    3   so Voynow never chased after them essentially is how I

    4   reading this for the signed engagement letter.             Is that a

    5   fair read of your argument, Ms. Fitzgerald?

    6               MS. FITZGERALD:      That's correct.       I mean the

    7   AICPA recommends but does not require.           And that's

    8   different from financial statement engagements such as a

    9   review or an audit.      And there, the AICPA mandates that

  10    you have both a signed engagement letter and a signed

  11    management representation letter from the client.

  12                THE COURT:     Mr. Felsen, would you like to be

  13    heard on this?

  14                MR. FELSEN:     Our position is that this wasn't

  15    just a tax engagement and it was a review engagement and

  16    therefore it had to be signed.

  17                THE COURT:     I understand that but that's not

  18    what this letter says, correct?

  19                MS. FITZGERALD:      The letter says it's only a

  20    tax engagement, yes.

  21                THE COURT:     I mean you take issue with the

  22    letter.    You're saying they never signed the letter, they

  23    didn't agree to it.      They understood the scope of work to

  24    be something different.        I understand that is your

  25    argument.    But under the Rules of Professional




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    1   Responsibility governing accountants, they were not

    2   required to chase after your client for a signature if

    3   they understood it to be a tax engagement.            Correct, Mr.

    4   Felsen?

    5               MR. FELSEN:     If it was a tax engagement,

    6   correct.    But again, your Honor, our clients didn't

    7   receive -- the testimony from our clients is they never

    8   received these letters and there's no evidence that our

    9   clients received them.

  10                MS. FITZGERALD:      We would disagree with that.

  11    Initially the letters were sent to the three brothers

  12    individually for each of their companies that they own.

  13    And one of the brothers, John Koufakis, told our clients

  14    hey, instead of doing it this way, put them all, after

  15    getting the letter, put them all on a single letter.               So

  16    put all the Star companies on a single letter and then

  17    address it to Michael Koufakis.          So that was done.      The

  18    paper trail reflects a change in the format which was

  19    done at the request of John Koufakis.           Michael Koufakis

  20    admitted that he got at least the 2016 letter and he does

  21    not know or does not recall whether or not he got the

  22    other letters.     You know, we can get into what the

  23    evidence is going to show as far as the documents that

  24    Star definitely got from Voynow and the fact that they

  25    haven't produced those in discovery in this case.              But I




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    1   mean I think that's getting a little bit far off what

    2   we're talking about today.        But there's going to be

    3   substantial evidence introduced showing that Star did in

    4   fact get these letters.        But I think for purposes of our

    5   discussion today, the point is that they have the sample

    6   format of what a review engagement letter looks like and

    7   they have the sample format of what a tax engagement

    8   looks like because I gave that to them through the

    9   Thompson entity which is the entity that they definitely

  10    requested they wanted.       I don't think it's relevant but I

  11    gave it to them.

  12                We don't need to go any further on that.            We

  13    don't need to now bring in other entities that I'm

  14    hearing about for the very first time that are unrelated

  15    to Star.

  16                THE COURT:     Ms. Fitzgerald, Ms. Fitzgerald, I

  17    didn't ask you a question and I'm really not even sure

  18    what you're talking about.        I was about to make a ruling

  19    and I was speaking when you started speaking and I truly

  20    am not clear on what you're trying to say.

  21                MS. FITZGERALD:      Sorry, I'm sorry, your Honor.

  22    I didn't realize.      I thought you had wanted to hear from

  23    me but I apologize if not.

  24                THE COURT:     So as I was starting to say, this

  25    issue has been pending now for many months and we've been




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    1   going around, the parties have been going around in

    2   circles trying to find some solution with little success.

    3   In the June 7, 2023 motion, the plaintiffs requested that

    4   the Court direct defendants to produce, and I quote,

    5   "written engagement agreements between Voynow and a

    6   sample of other dealerships who retained Voynow to

    7   perform solely tax preparation work and also to perform

    8   work separate and apart from solely tax preparation."

    9               That is on page 3 of ECF number 102.           That

  10    motion stated that the parties agree that the defendants

  11    would produce three sample tax only agreements and three

  12    sample agreements for tax and review services.

  13                As of September 7, 2023, plaintiffs contended

  14    that the defendants produced only engagement letters from

  15    the Thompson Auto Group and no other automotive groups

  16    and claimed that the defendants provided no rationale for

  17    limiting their production to Thompson Auto Group.

  18                We've now discussed the history of this for a

  19    length of time today and the distinction between the

  20    types of engagements that are represented in the Thompson

  21    Auto Group documents.       And I frankly do not think any

  22    further discovery on this issue is warranted.             The

  23    question of engagement letters with respect to other

  24    entities is not proportional to the needs of this case

  25    where the issues pertain to the agreement that was in




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    1   place between Star and Voynow.         The fact that you now

    2   have some samples seems more than sufficient given the

    3   very, very minimal relevance of this particular class of

    4   documents.

    5                So the court is not inclined to order that the

    6   defendants have to produce any further written

    7   engagements between Voynow and a sample of other

    8   dealerships.

    9                I also note that the parties did not even meet

  10    and confer on the specific request that the plaintiff is

  11    now positing as the documents they're seeking.             You

  12    acknowledged just moments ago, Mr. Felsen, that you had

  13    never requested specifically in a meet and confer the

  14    documents for Kerbeck and Peruzzi and I deny the request

  15    on that grounds as well.        So we're done with this

  16    particular issue.

  17                 Turning now to demand number 6, Mr. Felsen,

  18    would you like to start?

  19                 MR. FELSEN:    Yes.    Thank you, your Honor.        So

  20    demand number 6, in demand number 6 we're looking for

  21    documents concerning checklists Voynow used regarding

  22    review engagements for auto dealer clients as referenced

  23    in David Kumar's deposition.         Mr. Kumar is an employee

  24    for Voynow.

  25                 Michael Koufakis testified on behalf of the




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    1   plaintiff that his understanding of the engagement as

    2   explained to him by the principals of Voynow was that the

    3   engagement would be more than an audit, I'm sorry, more

    4   than a review and less than an audit.

    5               Mr. Kumar testified at Exhibit 3, pages 140 to

    6   141 of the deposition that when Voynow performed review

    7   engagements, it used checklists.          Voynow's argument

    8   principally is that Star isn't entitled to this because

    9   Voynow's position is that it only prepared tax returns.

  10    Obviously, that's not the case.          There's been no ruling

  11    on that particular issue and that's one of the primary

  12    issues in this case.

  13                So Voynow, throughout the litigation and at the

  14    deposition, has tried to relate all tasks that it

  15    performed for Star to preparation of tax returns.              But if

  16    there are certain tasks that are contained on these

  17    checklists that Voynow used for review clients, if on

  18    those checklists it identifies tasks that are being done

  19    by Star, it would tend to establish that Voynow was

  20    actually doing that work for Star.

  21                So it's entirely relevant.         It's critical to

  22    the central issue in this case related to what the scope

  23    of work was.

  24                Also, I just want to note for the Court that

  25    they produced another type of checklist in discovery.               It




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    1   was a checklist related to the tasks for controllers.

    2   We're not looking for confidential client information.

    3   All we're looking for is the checklist.            They can redact

    4   any information related to the identity of any Voynow

    5   client.    But this is entirely relevant and we'd ask that

    6   the Court direct Voynow to produce this checklist.

    7                THE COURT:    So this checklist question really

    8   is someone ephemeral to me, right?          Because it seems as

    9   though, you know, the production of checklists for a

  10    separate client could be somewhat problematic.              And I

  11    wonder, the question about a blank checklist, whether

  12    that actually provides me much insight.

  13                 So would you be satisfied with a blank

  14    checklist?    That's what you say on page 5 of ECF 102.

  15    Star --

  16                 MR. FELSEN:    Yes.

  17                 THE COURT:    The blank form checklist is what

  18    Star is seeking, not any checklist for client

  19    information.

  20                 MR. FELSEN:    Correct, your Honor.

  21                 THE COURT:    So Ms. Fitzgerald, does such a

  22    document exist?      Is there like a template that Voynow

  23    uses to prepare checklists for when they go out on an

  24    engagement?

  25                 MS. FITZGERALD:       So those types of blank




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    1   documents can be pulled right off the AICPA website.               And

    2   I think, I mean the plaintiffs actually did that when

    3   they submitted I think it's Exhibit 9 to one of their --

    4   I think it's two docket 102.         Exhibit 9 is a blank AICPA

    5   checklist for a tax engagement.          So they're looking for a

    6   blank --

    7                THE COURT:    I understand that there are

    8   publicly available checklists but that is not my

    9   question, Ms. Fitzgerald.

  10                 MS. FITZGERALD:     Yeah.    I don't know that

  11    Voynow has any checklists that are not already with

  12    client's specific information on them.

  13                 THE COURT:    I find that hard to believe, Ms.

  14    Fitzgerald because --

  15                 MS. FITZGERALD:     I'm sorry?

  16                 THE COURT:    I find that really hard to believe

  17    because I have yet to meet a company or office or, you

  18    know, division that doesn't create their own internal

  19    templates.

  20                 MS. FITZGERALD:     So I guess what I was trying

  21    to say is whether or not they could get that, like

  22    download it from the AICPA website as a blank document,

  23    probably, yeah.      But as I understood the question, the

  24    request that they were looking for, they were looking for

  25    the checklists that were actually used in actual review




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    1   engagements for other clients.

    2                THE COURT:    You're telling me that the Voynow

    3   accountants literally pull of the AICPA website when they

    4   go out for an engagement?        I don't buy it.

    5                MS. FITZGERALD:     So they are --

    6                THE COURT:    They don't maintain a blank

    7   checklist?

    8                MS. FITZGERALD:     It's a publication.        I want to

    9   say it's Pearson that publicizes these checklists that

  10    accountants use.

  11                 THE COURT:    I'm asking you whether or not

  12    Voynow has a template for their own internal checklists.

  13                 MS. FITZGERALD:     They have this published

  14    document that's put out by another entity.            It's not an

  15    internal Voynow template.

  16                 THE COURT:    I reviewed a fair amount of

  17    accounting records back when I was a white-collar

  18    prosecutor and I have not seen most accountants utilize

  19    like publicly available published forms, Ms. Fitzgerald,

  20    and I'm really struggling to credit -- I'm not saying

  21    that you are representing anything.           I'm just wondering

  22    if you know the answer.       Are you sure that Voynow doesn't

  23    have an internal template?

  24                 MS. FITZGERALD:     The templates are -- and

  25    there's been testimony about this, Judge.            So it's a




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    1   company, and I believe it's Pearson, that publishes these

    2   documents.    So that's the template that -- it's a

    3   publication by the company that lists the template.

    4                And I think if you look at the template that

    5   the plaintiff attached as a blank one, you can see that

    6   it's a publication that's put out by another entity.               So

    7   there's not a Voynow specific oh this is what we do in a

    8   review engagement.      It's a publication that, you know, it

    9   has a checklist and accountants go through it and they

  10    decide okay, is this a relevant step for this particular

  11    client for this particular engagement?           And if so, you

  12    know, they would follow that step.          But it's not a Voynow

  13    specific generated template.         It's something that's

  14    published by another party used by accountants.

  15                 THE COURT:    Mr. Felsen, do you have any

  16    evidence to suggest that they don't just use the standard

  17    public form?

  18                 MR. FELSEN:    Yes, your Honor.       Mr. Kumar's

  19    testimony, Exhibit 3 on page 141, he testified --

  20                 THE COURT:    Exhibit 3 to what?       Exhibit 3 to

  21    ECF number?

  22                 MR. FELSEN:    I'm sorry, it's document 102-3.

  23                 THE COURT:    Okay.    Thank you.

  24                 MR. FELSEN:    On page 141.

  25                 THE COURT:    Let me just get there.        My computer




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    1   is being very, very slow to open this PDF here.             Hold on.

    2   Give me one second.      You said page 141?

    3               MR. FELSEN:     Page 141 at the top on line 1

    4   starting.    It says, "We would follow checklists.            The

    5   checklists change from year to year."           So based on his

    6   testimony, there's a different checklist each year.

    7               And in addition, your Honor, the checklist --

    8               THE COURT:     What about that suggests that's not

    9   the AICPA checklist?

  10                MR. FELSEN:     Your Honor, that doesn't

  11    specifically say whether it's the AICPA checklist or not.

  12    But the point is that they had a different checklist each

  13    year that they used.

  14                And when you also look at the fact that the

  15    controller checklist has Voynow's name at the top and

  16    bottom of it, it would show that Voynow, when they use

  17    checklists, they put their name on it.

  18                So we would ask that they produce the

  19    checklists that they use that their name is on.             And if

  20    their name is not on it and they use the AICPA checklist,

  21    then they should confirm that.         It doesn't seem like Ms.

  22    Fitzgerald is fully aware as you can hear today.

  23                THE COURT:     I'm looking at Exhibit 8 and 9.

  24    Give me one second.

  25                MR. FELSEN:     Your Honor, the checklist for the




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    1   controller says at the top dealership internal control

    2   checklist and it's got Voynow's name at the bottom.

    3               THE COURT:     I know.    That's what I'm looking

    4   at, documents 8 and 9.

    5               So how do these checklists interrelate with the

    6   checklists that we're talking about, Ms. Fitzgerald, if

    7   you know?

    8               MS. FITZGERALD:      So Exhibit 9 is a 2021 tax

    9   return S Corporation checklist.          Okay?   What Mr. Kumar

  10    was asked about at his deposition was, you know, what

  11    types of engagement he worked on when he was at Voynow

  12    and he said, you know, he had done tax engagements and he

  13    had also done review engagements.          He made very clear

  14    that for Star it was only a tax engagement.            But to the

  15    extent that he did work on review engagements for other

  16    clients, he talked about the fact that there were

  17    checklists that were used for those types of engagements

  18    that were 40 to 60 pages.

  19                And you know, to the extent Mr. Felsen is

  20    arguing that those checklist changed every year, well,

  21    those checklists would have the year of the financial

  22    statement engagement.       So whether it was 2015 or 2016,

  23    that would be reflected on the year of the checklist.

  24                I believe that -- I think that answers your

  25    question.




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    1               THE COURT:     Not exactly, no.       So you know,

    2   Exhibit 8 is a different type of checklist than Exhibit 9

    3   and it does have Voynow's name at the top and the

    4   bottom --

    5               MS. FITZGERALD:      Yes.

    6               THE COURT:     -- of the first page.        And my

    7   question was how do these checklists interrelate with the

    8   checklists that you understand plaintiff to be seeking?

    9               MS. FITZGERALD:      Yes.

  10                THE COURT:     So you know, the Exhibit 9

  11    checklist in fact does appear to be an AICPA checklist

  12    for income tax return preparation.          Fine.

  13                MS. FITZGERALD:      Right.

  14                THE COURT:     You get this online.

  15                MS. FITZGERALD:      So okay --

  16                THE COURT:     The question is with regard to

  17    Exhibit 8, I mean to me if Voynow has a blank checklist,

  18    you should just produce it and we should be done with

  19    this.   I think we just need an answer to the question of

  20    whether or not Voynow was in the practice of preparing

  21    their own internal checklist or literally just went to

  22    AICPA and printed out a form each time.

  23                MS. FITZGERALD:      Yes.    So for the review

  24    engagement, that would be a similar type of publication,

  25    whether it's the Pearson company that I believe is what




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    1   the testimony said similar to what is on Exhibit 9.

    2   Exhibit 8, so that document came about after Star fired

    3   their two controllers.       In 2017, they asked Voynow to

    4   assist the new controller that they hired because she had

    5   no experience.     So this was a document -- this is not an

    6   accountant, procedures that accountants do.             This was a

    7   document that is in your capacity as a dealer, as a

    8   controller, these are things you should be doing as part

    9   of your job.     So that's the difference between the two

  10    documents.

  11                 THE COURT:    Right.    But I still don't have an

  12    answer as to whether Voynow created any internal

  13    checklist or literally just used the AICPA forms each

  14    time.

  15                 MS. FITZGERALD:     Yes.    So it is the form that

  16    they used.    And they would tailor it as needed to the

  17    particular type of review engagement that they were on,

  18    but it's not --

  19                 THE COURT:    What do you mean they would tailor

  20    it?   It's a standard form.       How do they tailor it?

  21                 MS. FITZGERALD:     So like for instance, let's

  22    just say, you know, there is a -- and I'm just

  23    hypothetically thinking, but just say on a checklist

  24    there's petty cash.       If a client doesn't have petty cash,

  25    then that would be something that you would just mark N/A




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    1   as you're completing the checklist as an accountant.               You

    2   know, or if an accountant, you know, if the company

    3   doesn't have like a certain type of inventory, you know,

    4   you would skip over something like that.            You tailor it

    5   as needed to your client, but that's how it's tailored to

    6   a client's specific engagement.

    7               THE COURT:     What you're saying is internally

    8   inconsistent to some extent, Ms. Fitzgerald.             By saying

    9   they're tailoring the checklist, you're suggesting that

  10    they're editing it.

  11                MS. FITZGERALD:      No, I'm just saying you skip

  12    over it.    Like you don't complete it.

  13                THE COURT:     No, but that's what you are

  14    literally saying, ma'am, with all respect.            When you just

  15    say N/A, you're not tailoring the checklist.             You're

  16    filling it out as not applicable.          There's a very

  17    different meaning.

  18                And so what I'm trying to get at is whether or

  19    not there is evidence in this case that the AICPA

  20    checklists were the ones utilized for both potential

  21    types of review here, the tax engagement and/or the

  22    review engagement.

  23                MS. FITZGERALD:      So the testimony and the work

  24    papers make clear that there were no checklists used for

  25    the tax engagement.       They're not required to --




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    1               THE COURT:     Totally not responsive to my

    2   question.    My question is is there evidence in this case

    3   about Voynow's practices with regard to checklist

    4   utilization with regard to tax engagement and the review

    5   engagement?     Where did the checklist come from?

    6               MS. FITZGERALD:        So the evidence is they were

    7   asked do you use checklists for tax engagements?              The

    8   answer is no.

    9               THE COURT:     Okay.

  10                MS. FITZGERALD:        Do you use checklists for

  11    review engagements?       The answer was yes.       And that was

  12    what Mr. Kumar's testimony had to do it.

  13                THE COURT:     Right.    Mr. Kumar's testimony is

  14    ambiguous as to where the checklists originate.              Is there

  15    evidence in the case with regard to where they get their

  16    checklists?

  17                MS. FITZGERALD:        Yes.   And that's what I'm

  18    trying to pull up.      And it was a publication and that's

  19    where the name Pearson is coming up.           And I can't recall

  20    specifically which deposition it was, but one of the

  21    Voynow folks explained that that's where they get the

  22    checklists that they use.        It's published by a third

  23    party.

  24                THE COURT:     Mr. Felsen, do you recall which

  25    deposition that was?




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    1               MR. FELSEN:     Not off the top of our heads, your

    2   Honor.

    3               THE COURT:     Okay.    I can't order Ms. Fitzgerald

    4   to produce something that doesn't exist, Mr. Felsen.               If

    5   it is true that Voynow utilized the AICPA checklist for

    6   their review engagement consistently and that was their

    7   standard practice, which actually makes sense to some

    8   degree for a small firm not to reinvent the wheel, but I

    9   can't possibly weigh in on what their actual business

  10    practice was.

  11                All of that being said, I can't order her to

  12    produce something that doesn't exist.           If there's

  13    testimony and evidence in the case that they did not use

  14    checklists for tax engagements, there will be no

  15    checklists to produce in that regard.           If the evidence in

  16    the case indicates that they used the AICPA form for

  17    their review engagements, they don't have an internal

  18    document to produce that wouldn't have client information

  19    on it.

  20                So you have Exhibit 9.        It appears to be one of

  21    the AICPA forms.      What I'm going to direct the parties to

  22    do once again is to meet and confer on this issue and

  23    please drill down with your client, Ms. Fitzgerald, and

  24    if you need to put it in a declaration or an

  25    interrogatory or something to close out this issue,




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    1   please do so.     But we need a definitive answer about

    2   whether or not Voynow had their own internal blank

    3   checklists that the accountants would use for review

    4   engagements or whether or not they were simply using the

    5   AICPA form.    Is that clear to you, Ms. Fitzgerald?            Do

    6   you understand what I'm saying?

    7               MS. FITZGERALD:        Yes.

    8               THE COURT:     Okay.    So on this issue, the

    9   plaintiff's request for the documents in the motion that

  10    I ordered defendants to provide them is denied without

  11    prejudice because I don't have sufficient evidence before

  12    me to establish that the documents exist.            But I am

  13    directing the parties to meet and confer to confirm

  14    whether or not -- to confirm what Voynow's business

  15    practice was.     If there was a checklist, Ms. Fitzgerald,

  16    please provide it.      If there was no checklists, please

  17    come up with some sort of a workaround to have that fact

  18    documented in the discovery record whether it is one

  19    quick interrogatory or declaration.           We have to close

  20    this issue out.     Ms. Fitzgerald, does that work for you?

  21                MS. FITZGERALD:        Yes.

  22                THE COURT:     All right.     So the next two issues

  23    that were raised pertain to the filing that was made in

  24    August, document 108.

  25                First was a motion to quash a subpoena to




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    1   Withum, plaintiff's current accounting firm.             So again,

    2   Mr. Felsen, this is your motion.          Would you like to

    3   start?

    4               MR. FELSEN:     Yes.    Thank you, your Honor.          So I

    5   just want to go through some quick procedural history

    6   relating to discovery.

    7               On December 5, 2022, the Court ordered fact

    8   discovery closed as of March 17, 2023 and all discovery

    9   closed on August 18, 2023.

  10                A few months later, March 28, 2023, the Court

  11    entered an order reiterating that the March 17, 2023

  12    deadline remains and ordered the parties to meet and

  13    confer and try to resolve some pending discovery

  14    disputes.

  15                Then we fast forward to July 25, 2023.            Star

  16    submitted a letter asking for more time to complete

  17    expert discovery only and proposed dates for expert

  18    disclosures as well as expert depositions.            Star didn't

  19    ask to extend fact discovery.         Voynow certainly didn't.

  20    Voynow has adamantly and strenuously opposed every

  21    attempt by Star to extend the discovery deadline, the

  22    fact discovery deadline.

  23                The Court entered an order on August 2, '23

  24    stating that fact discovery must be completed by August

  25    31, 2023 and set a schedule for expert discovery.              In




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    1   that order, the Court did not reopen fact discovery.

    2   There was merely some miscellaneous discovery items that

    3   needed to be done.      There was nothing before the Court

    4   asking any party, including Voynow, asking for the Court

    5   to allow new discovery to take place such as the issuance

    6   of subpoenas.     The spirit of the order was that no new

    7   discovery would take place, that August 31st was the

    8   deadline to finish up whatever was outstanding.

    9                Ms. Fitzgerald, on April, I'm sorry, August

  10    4th, four and a half months after the March 17, 2023

  11    close of discovery, served a subpoena on Withum, who is

  12    Star's current accountant, and by doing so Ms. Fitzgerald

  13    circumvented the August 2, 2023 order.

  14                 Now, the substance of the subpoena, so we

  15    believe that the subpoena should be quashed based solely

  16    on the fact that it was served after the close of

  17    discovery.    But even if the Court were to entertain that

  18    subpoena, which we don't think it should, the subpoena

  19    should be quashed because it seeks information that's not

  20    relevant.

  21                 So Withum came up at a deposition of Michael

  22    Koufakis back in August of 2022, a year before (audio cut

  23    out) on August 4, 2023.       So it's clear that Voynow could

  24    have served that subpoena and didn't, for whatever reason

  25    did not, and forgot to, and then took the opportunity




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    1   based on its August 2nd order to now engage in new

    2   discovery.    They had plenty of time to serve that

    3   subpoena during discovery and they failed to do so.

    4                Now, the substance of that subpoena is for

    5   engagement letters, invoices, and bills for the period of

    6   2020 through 2021.      That information that they sought has

    7   nothing to do with the claims in this case.            Withum

    8   became Star's accountant in 2020, years after the alleged

    9   acts in the complaint.       The complaint alleges malpractice

  10    up through November 2017.        Withum didn't become the

  11    accountant for three years.

  12                 Withum (audio cut out) after Voynow was

  13    terminated simply has no connection to Voynow's retainer.

  14    What Star did subsequently with respect to the accounting

  15    services that it received from accountants has no bearing

  16    whatsoever on this case.        Also --

  17                 THE COURT:    Isn't it somewhat analogous to your

  18    argument that what your relationship was with your

  19    subsequent accountant is perhaps reflective of your

  20    relationship with your prior accountant?            Isn't that

  21    somewhat analogous to comparing the practices that Voynow

  22    undertook with other clients, what we started the day

  23    with?

  24                 MR. FELSEN:    And your Honor ruled in favor of

  25    Ms. Fitzgerald on that.        So if you believe it's




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    1   comparable then --

    2                THE COURT:    After you got some discovery, sir.

    3                MR. FELSEN:    So, if you believe it's

    4   comparable, then --

    5                THE COURT:    After you got some discovery, sir.

    6                MR. FELSEN:    But your Honor, we're looking for

    7   engagements during the time that -- we were looking for

    8   engagements during the time that Star was being serviced

    9   by Voynow.    They are now looking for engagements three

  10    years after the malpractice took place with respect to a

  11    totally different accounting firm.

  12                 THE COURT:    I understand.      All right.     Ms.

  13    Fitzgerald?

  14                 MR. FELSEN:    Just one more comment, your Honor.

  15    Ms. Fitzgerald is looking for information related to

  16    pricing and we just don't think that you can compare

  17    Withum, a large international accounting firm with

  18    Voynow, who's a regional accounting firm based in

  19    Pennsylvania with less than ten employees.            You just

  20    can't compare.     That's like comparing, you know, my firm

  21    to one of these huge national law firms.            It's just

  22    not -- our rates aren't comparable to a huge law firm

  23    like that.

  24                 THE COURT:    I understand the argument.         Ms.

  25    Fitzgerald?




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    1               MS. FITZGERALD:      So first, let me address the

    2   argument as to the discovery deadline.           Plaintiffs had

    3   made numerous requests to extend that deadline and we did

    4   object, and the Court ruled in plaintiff's favor

    5   extending that deadline.        So the Court's order issued on

    6   August 2nd extends the fact discovery deadline to August

    7   31st.   There's no limitations, restrictions, or

    8   qualifications in that order as far as fact discovery.

    9               And to the extent the plaintiff is trying to

  10    argue that only certain limited discovery was permitted

  11    after March, well that argument doesn't hold because the

  12    plaintiffs disclosed a brand new witness for the first

  13    time at the end of June.        The plaintiffs produced almost

  14    5,000 documents in mid to late August.           So both parties

  15    have engaged in fact discovery after that March deadline

  16    and that's consistent with the Court's order allowing

  17    discovery to take place up through August 31st.

  18                So as to the second part of Mr. Felsen's

  19    argument, which is essentially that the subpoena seeks

  20    information that's not relevant, we disagree.             First of

  21    all, the subpoena is very narrowly tailored.             It only

  22    asks for two years of engagement letters and invoices.

  23                And the reason why it's relevant is because, as

  24    has been alluded to throughout today, that there's a

  25    dispute between Michael Koufakis's version as to what he




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    1   hired outside accountants for versus Voynow's version.

    2               So I took his deposition and the deposition was

    3   taken in August of 2022.        So at that point, Withum was

    4   already engaged for over two years.           And Mr. Koufakis

    5   testified that with regard to Voynow, he had hired them

    6   to conduct services just shy of an actual audited

    7   financial statement.       He hired them to actually detect

    8   fraud and to actually verify every balance in every

    9   account on the balance sheet.         And he said that that was

  10    what he hired Voynow to do for a 21-year period and that

  11    he had also hired Voynow's predecessor to provide that

  12    same level of service.

  13                So basically, you have Mr. Koufakis testifying

  14    that for 30 years his outside accountant provided this

  15    significant level of service.         And when I asked him what

  16    he was engaged -- what Withum was engaged to provide, his

  17    testimony was that oh, it's a fluid situation.             I really

  18    don't recall.     But he was the one who would have hired

  19    them.

  20                And I think that we should be able to challenge

  21    his credibility because when you look at the fact that

  22    he's claiming that between 2017 and 2021 he discovered

  23    allegedly $10 million worth of theft or fraud that was

  24    committed that supposedly wasn't detected by Voynow, and

  25    that on top of it there was an investigation by the New




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    1   York Attorney General against Star for Star employees

    2   defrauding customers, Chinese customers -- so you have

    3   that that occurred, that also occurred around 2018

    4   through 2020.     So you have these two big alleging fraud

    5   activities and now you're going to claim that you only

    6   hired Withum to do something that is so far below the

    7   level of an audit engagement?

    8               I mean it's our belief, and I'm 99 percent

    9   sure, that if the Court allows this subpoena, I'm going

  10    to get those engagement letters and they're going to show

  11    that it's a tax only engagement.          So that, given the

  12    context of what's happened with this fraud, that

  13    undercuts Michael Koufakis's credibility because why

  14    would you go from such a high level of outside accountant

  15    services for 30 plus years and now you have supposedly

  16    all this massive fraud and you now scale it back to where

  17    you just have a tax engagement that is not intended to

  18    detect fraud?

  19                So it's relevant to address his credibility,

  20    first of all.     And then it's also relevant because the

  21    fraud, some of the fraud that is at issue actually is

  22    alleged to have occurred up through 2020 and was not

  23    discovered until either 2020 or 2021 which falls in the

  24    scope of Withum's engagement.         So if Withum, I mean if

  25    Star is to believe that they hired Withum to do the same




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    1   type of level of attestation engagement that it did hire

    2   Voynow and the prior accountant, then there's an issue as

    3   to why Withum couldn't discover that type of fraud

    4   because it was only discovered by, you know, their

    5   current office manager who isn't even an accountant and

    6   who doesn't even have, you know, any education beyond

    7   high school.

    8               So you have accountants who are professionals

    9   who supposedly aren't discovering this so-called fraud.

  10    It's relevant to the extent that how discoverable was

  11    this fraud or even is there a fraud?           So again, the

  12    subpoena is very narrowly tailored.

  13                And then the third piece as to why it's

  14    relevant, as to why we've asked for the invoices, is that

  15    the plaintiff's theory is that because of Voynow's bills

  16    that supposedly reflects that they did more than tax

  17    work.

  18                And their expert made that plain.           And when I

  19    took his deposition, I asked him what support he had to

  20    back up that opinion and he basically said well, you

  21    know, my own accounting firm would issue the tax work for

  22    dealerships back in 2015.        And when I tried to ask him,

  23    you know, what was the type of clients, what was the size

  24    of the dealership, you know, where was the dealership

  25    located so that we could actually make some type of




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    1   comparison, he wouldn't disclose any of that information.

    2               So if the Court allows me to get Withum's bills

    3   and if Withum's bills reflect that it was only a tax

    4   engagement, as I suspect that they will, and if those

    5   bills are comparable to what Voynow's bills were, then

    6   that supports our defense and it rebuts the plaintiff's

    7   claim that Voynow's bills suggest something more than a

    8   tax engagement.

    9               THE COURT:     So then the question of the

  10    monetary compensation, I mean didn't we discuss this at

  11    length in the context of the other engagement that the

  12    price may or may not have any relevance depending upon

  13    their pay structure?       I mean I don't know that the money

  14    matters.    I understand your argument with regards to the

  15    scope of the engagement, but I'm not completely sold on

  16    the invoices at all, Ms. Fitzgerald.           How is it not Mr.

  17    Felsen's argument that a regional accounting firm may

  18    have very different rates than the national?             They could

  19    be less, they could be more depending upon whether the

  20    larger firm has economy to scale.          Paul Weiss is not

  21    comparable to a law firm in rural Pennsylvania.

  22                MS. FITZGERALD:      Right.     So what the invoices

  23    would show, and I agree that there's variation in rates,

  24    but what the invoices would show is if this was a tax

  25    engagement, then you would have invoices that reflect a




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    1   tax claiming visit at one point of the year.             You would

    2   have invoices that reflect a tax preparation visit at one

    3   point of the year.      And then you would have invoices that

    4   reflect an interim year tax visit.          So the invoices would

    5   reflect and support when it was that Withum was actually

    6   out there.    And to the extent it matches up with the same

    7   type of three visits per year that Voynow was out there,

    8   then it does support, you know, irrespective if let's

    9   just say Withum bills at a higher hourly rate than Voynow

  10    did, the invoices are going to be relevant to support the

  11    scope of the engagement being those three types of on

  12    site visits.

  13                 THE COURT:    Okay.    Mr. Felsen?

  14                 MR. FELSEN:    Yes, your Honor.       So Voynow has in

  15    their possession (indiscernible) and invoices from

  16    another accounting firm, Rosenfield, that Star used

  17    subsequent to Voynow.       So just like your Honor ruled with

  18    respect to demand number 9 where it was sufficient for

  19    Star to just have Thompson engagement, I respectfully

  20    submit that that should be the ruling here, that they

  21    already have Rosenfield and they shouldn't be entitled to

  22    anything else.

  23                 With respect to Mr. Koufakis's testimony, he

  24    testified that he uses other accounting firms and not

  25    exclusively Withum.




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    1                Also, Ms. Fitzgerald made a statement about a

    2   new witness that Star subsequently identified after

    3   discovery.    We only learned about that witness at a

    4   30(b)(6) deposition that took place after the initial

    5   deadline for discovery.        So that's the reason why that

    6   individual was identified.

    7                THE COURT:    Ms. Fitzgerald, anything final?

    8                MS. FITZGERALD:     So just as to the Rosenfield

    9   piece, so Rosenfield was hired to conduct a forensic

  10    accounting analysis.       So that's different.       They were

  11    hired, you know, after the alleged discovery of the

  12    alleged theft and they were also hired for purposes of

  13    being an expert in this case.         So those types of bills

  14    aren't really comparable or reflective of what your

  15    prototypical tax engagement would have looked like.

  16                 THE COURT:    Mr. Felsen, anything in response?

  17                 MR. FELSEN:    Your Honor, Rosenfield did tax

  18    work also.    And your Honor, to the extent that they're

  19    allowed this, it's going to prejudice us because, you

  20    know, there's no -- discovery is closed and, you know,

  21    they're going to get this and that's the end of it?

  22    There's no further discovery on this issue?             Their time

  23    to get this has well passed.         They should have asked for

  24    this a long time ago.       We would have objected back then.

  25    But due to the fact that they requested this after




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    1   discovery closed, it should be rejected based on that

    2   ground alone.

    3               THE COURT:     I understand both sides' arguments.

    4   So starting first with the argument as to timing, I would

    5   just like to note that in the August 21, 2023 motion by

    6   plaintiff, plaintiff's sought to quash the subpoena

    7   served on Withum, plaintiff's current accounting firm, as

    8   both untimely and irrelevant.         That's in the motion to

    9   quash the subpoena at ECF 108.

  10                Plaintiffs seem to argue that the Court

  11    unintentionally extended the deadline to close fact

  12    discovery when the Court was only requested to extend the

  13    deadline for expert discovery.         That's suggested in the

  14    motion at ECF 108 at page 2.

  15                Plaintiffs further argue that the subpoena

  16    seeks the relevant documents because the documents

  17    requested are outside the time frame of the relationship

  18    between plaintiff and defendants.

  19                In response, defendants point to the Court's

  20    August 2, 2023 order stating that the close of fact

  21    discovery would be August 31, 2023 and note that the

  22    defendants issued the subpoena with a return date of

  23    August 21, 2023 and the defendants explained why the

  24    requested documents are relevant supplemented by Ms.

  25    Fitzgerald's arguments made here today.




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    1               As a timing matter, I would first note that

    2   plaintiff is incorrect that the Court erred in some

    3   fashion in extending the close of fact discovery.              The

    4   Court's extension of the schedule was specific and based

    5   on an expressed request for an extension made by the

    6   plaintiff in document 104.        And I quote from ECF 104,

    7   "This letter is written as a follow up to a portion of

    8   the June 7th letter regarding inter alia plaintiff's

    9   request for an extension of time for the completion of

  10    all discovery."

  11                One prior request for an extension was made on

  12    December 2, 2022 and was granted.          The December 2, 2022

  13    extension was made in the filing made by plaintiff's

  14    counsel docketed at ECF number 78 in which the plaintiffs

  15    requested an extension of fact discovery.

  16                I did at one point note on the record while we

  17    were together that I was not extending the fact discovery

  18    schedule in toto at that point in time.           But given all of

  19    the events that transpired over the summer and given

  20    plaintiff's request, express request that I extend the

  21    deadline for the close of all discovery, we entered a

  22    responsive scheduling order over defendant's objection.

  23                After that time, the parties had ample

  24    opportunity all throughout the summer to certify the

  25    close of fact discovery notwithstanding discreet open




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    1   issues and continuously declined to do so.            Whether or

    2   not the plaintiffs intended to request an extension of

    3   the close of fact discovery in their letter, the Court

    4   nonetheless ordered it on the basis of the fact that

    5   there were so many messy issues that I was aware of that

    6   were percolating over the summer.          My order clearly and

    7   unequivocally extended the close of fact discovery to

    8   August 31, 2023.      No party objected to it.        Had anybody

    9   wanted a clarification, it could have been requested.

  10    Nothing was made in that regard.          I do find that the

  11    defendant's subpoena was issued prior to the close of

  12    fact discovery.

  13                In addition, I find the defendants have carried

  14    their burden to demonstrate that the requested documents

  15    could bear on their defenses including, but not limited

  16    to, challenging the credibility of an important witness,

  17    specifically Michael Koufakis.

  18                Accordingly, plaintiff's motion to quash the

  19    subpoena is denied.

  20                The next issue that we had was the defendant's

  21    motion to preclude.       And my question to you, Ms.

  22    Fitzgerald, is isn't this really a proper motion for

  23    later on in the case as a motion in limine?            Why is this

  24    before me now?

  25                MS. FITZGERALD:      It's actually the plaintiff's




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    1   motion and I agree with your Honor.

    2               THE COURT:     Oh, I'm sorry.      I'm sorry.     Go

    3   ahead, Mr. Felsen.

    4               MR. FELSEN:     Your Honor, the problem is is that

    5   there's documents that Ms. Fitzgerald is attempting to

    6   rely on and we're significantly prejudiced because if

    7   they're allowed, we haven't had the opportunity to engage

    8   in discovery on any of this.         Ms. Fitzgerald snuck in

    9   four categories of documents with a 6,000 page document

  10    production of documents for the most part where we had

  11    agreed upon during the meet and confer that they would be

  12    produced.

  13                So to allow this to go forward without

  14    plaintiffs having the opportunity to engage in further

  15    discovery with respect to these four categories of

  16    documents would be significantly prejudicial to the

  17    plaintiffs.

  18                THE COURT:     You got them in June, right?

  19                MR. FELSEN:     June, yeah, we got them in June

  20    and we filed a motion shortly thereafter, after we

  21    believed discovery was over.

  22                THE COURT:     Your firm is the firm that

  23    requested the extension of the discovery schedule which I

  24    granted unequivocally in plain English on the docket.

  25                MR. FELSEN:     Your Honor, I respectfully




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    1   disagree with your interpretation of our letter but I

    2   understand your ruling.

    3               THE COURT:     You also have to understand the

    4   docket order.     It says unequivocally fact discovery is

    5   extended until August 31st.         And I don't understand why

    6   that wasn't read literally in black and white, black and

    7   yellow as the case may be.

    8               MR. FELSEN:     Your Honor, the Court's orders

    9   were making a distinction between fact discovery and all

  10    discovery, and we referred to all discovery in our

  11    letter.

  12                THE COURT:     Fact discovery shall be completed

  13    by August 31, 2023.      It is on the docket.        You had a full

  14    month after August 2nd to the close of fact discovery to

  15    conduct any discovery you would have liked to do with

  16    regard to documents you received at the end of June.

  17                MR. FELSEN:     But that's not what we asked for

  18    in our letter.     We asked for an extension on all

  19    discovery, not fact discovery.

  20                THE COURT:     Fact is encompassed within all

  21    discovery, sir.      And I distinguished in my order what was

  22    being extended unequivocally.         So I'm failing to

  23    understand how you did not have an opportunity to address

  24    these issues during discovery.         You had the documents as

  25    of June 30th, correct?




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    1                          (Pause in proceedings)

    2                THE COURT:    Mr. Felsen, are you there?

    3                MR. FELSEN:    I think I was on mute.        The prior

    4   orders that the Court issued made a distinction between

    5   fact discovery and all discovery.          And so in our letters,

    6   we used the same terminology that the Court was using.

    7   When we referred to all discovery, we were referring to

    8   all discovery which the Court was referring to as expert

    9   discovery.

  10                 THE COURT:    Your letter and what you intended

  11    to request specifically made reference to a prior

  12    extension of fact discovery that was requested in

  13    December.    I extended the schedule clearly and

  14    unequivocally again breaking them down by categories.

  15    You didn't read my scheduling order.           You didn't

  16    understand my scheduling order.          That is frankly not the

  17    Court's responsibility to ensure.          It is clear and

  18    unequivocal that fact discovery was extended until August

  19    31st.   Did you or did you not receive these documents on

  20    June 30th, sir?

  21                 MR. FELSEN:    We received them on June 30th,

  22    your Honor.

  23                 THE COURT:    Okay.    So you had two months from

  24    the extension of the discovery schedule that was

  25    predicated on receipt of your letter during which you




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    1   could have explored the discovery issues that you think

    2   are necessary to follow up on this production.             Whether

    3   you misunderstood because you had a different intention

    4   in writing the letter than what I ultimately ruled

    5   doesn't matter, sir.       The discovery schedule was clear.

    6   And your interpretation of my discovery schedule is not

    7   binding on the -- what you intended to request is not

    8   binding on me.

    9               MR. FELSEN:     Your Honor, we did not have an

  10    opportunity -- if you were to allow these documents to

  11    proceed at trial and wait for a motion in limine, we

  12    would be deprived of the opportunity to do depositions

  13    related to these documents.

  14                THE COURT:     Did you seek to take any

  15    depositions related to the documents after you received

  16    them in June?

  17                MR. FELSEN:     Your Honor, discovery was closed

  18    in June.    We couldn't do anything.

  19                THE COURT:     Did you seek to take any discovery

  20    steps with regard to documents after I extended the fact

  21    discovery schedule on August 2nd?

  22                MR. FELSEN:     We didn't believe that -- we

  23    didn't understand the discovery deadline to be extended.

  24    We thought the expert discovery deadline was extended.

  25    That was the main argument we made with respect to the




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    1   Withum subpoena.      It's not like I'm just making this up,

    2   your Honor.    That was our understanding and we identified

    3   that understanding in our motion with respect to the

    4   Withum subpoena on August 21st.

    5               THE COURT:     We had many, many letters and

    6   correspondence over the summer regarding the pendency of

    7   various fact discovery disputes in this case.             And my

    8   order from August 2nd is unequivocal.           Plaintiff's letter

    9   motion for extension of time to complete discovery is

  10    granted in part in light of the lengthy history of

  11    discovery disputes in this case.          That discovery shall be

  12    completed by August 31, 2023.         The parties shall file a

  13    joint status report certifying the close of fact

  14    discovery by September 7, 2023.          I don't understand how

  15    anyone could interpret that to mean anything other than

  16    the notion that fact discovery was extended.

  17                So did you take any steps in August to do any

  18    work with regard to these documents?

  19                MR. FELSEN:     No, your Honor.       We filed the

  20    letter on August 21st stating that we believe these

  21    documents were produced after the close of discovery.

  22                THE COURT:     And you knew that defendants

  23    disagreed with you.       And if you had reviewed the

  24    scheduling order you would have plainly seen that they

  25    were right.




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    1               MR. FELSEN:     We didn't agree that they were

    2   right, your Honor.      That's why we submitted the letter.

    3               THE COURT:     I'm sorry, there is no credible

    4   interpretation of that scheduling order other than the

    5   notion that fact discovery was extended.            You may reserve

    6   your right to seek to preclude any documents later on in

    7   this case, but there's no basis to preclude documents

    8   during the discovery phase based upon the fact that you

    9   did not read my scheduling order.

  10                So the motion to preclude the documents that

  11    were produced on June 30, 2023 is denied without

  12    prejudice to raise these issues as a motion in limine at

  13    the appropriate time.

  14                If you have a further application with regards

  15    to these issues, you may make it but I don't know what

  16    that would be.

  17                So at this point the four issues that were

  18    identified at the outset by the parties as the issues

  19    that remain outstanding have been addressed.             Is there

  20    anything further that we should do today, Mr. Felsen?

  21                MR. FELSEN:     No, your Honor.

  22                THE COURT:     Ms. Fitzgerald?

  23                MS. FITZGERALD:      No, your Honor.       But I do have

  24    a question.    I guess a clarification really.           To the

  25    extent that there are issues regarding preclusion of all




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    1   or part of any expert report, am I correct that we should

    2   be addressing those to the trial judge and not to you at

    3   a later date?

    4               THE COURT:     Are you anticipating that as a sort

    5   of motion for summary judgment?

    6               MS. FITZGERALD:       Yes.

    7               THE COURT:     Then yes, it should be directed to

    8   the district judge.

    9               MS. FITZGERALD:       Okay.   All right.     Thank you.

  10                THE COURT:     And with regard to the expert

  11    schedule, it sounded as though the parties are on track

  12    to complete the expert depositions on Monday.             And from

  13    there, what, if anything, remains outstanding with

  14    regards to discovery?       Mr. Felsen, starting with you.           I

  15    think you're on mute again, sir.

  16                MR. FELSEN:     Your Honor, just the one issue

  17    with respect to the checklist that you directed us to

  18    meet and confer on.

  19                THE COURT:     Yes.    So that will be part of the

  20    minute entry order.       Ms. Fitzgerald, anything else?

  21                MS. FITZGERALD:       No, your Honor.      Thank you.

  22                THE COURT:     All right.     We're almost at the

  23    finish line here with regard to discovery.            So I know

  24    this has been a laborious process.          I'm glad to hear the

  25    parties are on track to complete the discovery and the




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    1   expert practice.      So I wish you guys a good holiday

    2   season.    Take care.    And stay safe, everyone.

    3               MS. FITZGERALD:      Thank you.     You too, Judge.

    4               THE COURT:     Thank you so much.

    5               MR. FELSEN:     Thank you, your Honor.

    6               THE COURT:     Take care.     Bye-bye.

    7                            (Matter concluded)

    8                                    -oOo-

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                        I, MARY GRECO, hereby certify that the

         foregoing transcript of the said proceedings is a true

         and accurate transcript from the electronic sound-

         recording of the proceedings reduced to typewriting in

         the above-entitled matter.



                        I FURTHER CERTIFY that I am not a relative or

         employee or attorney or counsel of any of the parties,

         nor a relative or employee of such attorney or counsel,

         or financially interested directly or indirectly in

         this action.



                        IN WITNESS WHEREOF, I hereunto set my hand

         this 21st day of December, 2023.




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